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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA



  SERGIO SALANI,
                                                   Case No.:
               Plaintiff,
                                                   Removed from the County Court of
        v.                                         the 11th Judicial Circuit in and for
                                                   Miami-Dade County, Florida, Case
  AT&T MOBILITY LLC,                               No. 2022-047421-SP-25

               Defendant.


                      AT&T Mobility LLC’s Notice of Removal

        Defendant AT&T Mobility LLC removes this action currently pending in the

  County Court of the 11th Judicial Circuit in and for Miami-Dade County, to the

  United States District Court for the Southern District of Florida, on the grounds

  that this Court has original jurisdiction over this civil action pursuant to 28 U.S.C.

  §§ 1332, 1441 and 1446.

                             NATURE OF REMOVED ACTION

        1)     On March 30, 2024, AT&T announced that AT&T-specific data fields

  were contained in a data set released online approximately two weeks before. AT&T

  shared its determination with regulators and the public, took precautionary

  measures, and began notifying customers. As of January 23, 2025, over 100 related

  actions have been filed against AT&T and its related entities, including AT&T

  Mobility LLC, in connection with the incident.
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        2)     On April 2, 2024, one of the plaintiffs moved the Judicial Panel on

  Multidistrict Litigation (“JPML”) to consolidate pending federal court actions in

  multidistrict litigation (“MDL”) in the Northern District of Texas. See In re AT&T

  Inc. Customer Data Security Breach Litigation, JPML No. 3114, ECF No. 1 (Apr. 2,

  2024). On June 5, 2024, the JPML issued a Transfer Order consolidating actions

  relating to the data incident on the grounds that centralization will eliminate

  duplicative discovery, prevent inconsistent pretrial rulings, and conserve the

  resources of the parties, their counsel, and the judiciary. The JPML assigned the

  consolidated proceeding to Judge Ada E. Brown in the Northern District of Texas

  and broadly noted that “any other related actions” are potential tag-along actions

  pursuant to the JPML Rules. See In re AT&T Inc. Customer Data Security Breach

  Litigation, JPML No. 3114, ECF No. 139 (June 5, 2024) (the “Texas MDL”).

        3)     In December 2022, Plaintiff commenced an action against AT&T

  Mobility LLC in the County Court of the 11th Judicial Circuit in and for Miami-

  Dade County bringing claims related to an administrative fee issue unrelated to the

  data incident (the “State Court Action”). On December 13, 2024, the Miami-Dade

  County Court granted AT&T’s motion to dismiss Plaintiff’s administrative fee

  claims and granted Plaintiff’s motion for leave to file an amended complaint. The

  Court ordered Plaintiff to file the amended complaint by December 23, 2024. On

  December 18, 2024, Plaintiff moved for an extension of the deadline to file an

  amended complaint, which the Court granted on January 6, 2025. On January 17,

  2025, Plaintiff filed an amended complaint (the “Complaint”) bringing claims for




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  negligence, violations of the Florida Deceptive and Unfair Trade Practices Act, and

  breach of the implied duty of good faith and fair dealing related to the data incident

  that is the subject of the Texas MDL. Plaintiff’s Complaint seeks damages,

  attorney’s fees and costs, declaratory judgment, injunctive relief, and “any other

  relief the Court deems just and proper.” Plaintiff’s Complaint in the State Court

  Action is attached hereto as Exhibit A, and a true and correct copy of the state

  court docket and all process, pleadings, and orders served on AT&T Mobility LLC in

  the State Court Action is attached hereto as Exhibit B.

        4)     In addition to this case, Plaintiff’s counsel has filed over 50 other

  complaints against AT&T Mobility LLC raising identical claims regarding the same

  data incident. To date, AT&T has removed 25 of these cases on similar grounds as

  asserted here to the Southern District of Florida. See, e.g., Caruso v. AT&T Mobility

  LLC, No. 24-cv-22597; Surowiec v. AT&T Mobility LLC, No. 24-cv-22619; Young v.

  AT&T Mobility LLC, No. 24-cv-22625; Quick v. AT&T Mobility LLC, No. 24-cv-

  22682; Varela v. AT&T Mobility LLC, No. 24-cv-22666; Simply180 v. AT&T

  Mobility LLC, No. 0:24-cv-61743; Simon v. AT&T Mobility LLC, No. 0:24-cv-61737;

  Braverman v. AT&T Mobility LLC, No. 24-cv-23685; Van Teeffelen v. AT&T

  Mobility LLC, No. 1:24-cv-23776; Bornstein v. AT&T Mobility LLC, No. 9:24-cv-

  81225; Spring v. AT&T Mobility LLC, No. 1:24-cv-24061; Claims Holding Group,

  LLC (Heising) v. AT&T Mobility LLC, No. 1:24-cv-24065; Stormont v. AT&T

  Mobility LLC, No. 1:24-cv-24943; FFMM Services, LLC v. AT&T Mobility LLC, No.

  1:24-cv-25056; Claims Holding Group, LLC (Anthony) v. AT&T Mobility LLC, No.




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  1:25-cv-20076; Claims Holding Group, LLC (Appleman) v. AT&T Mobility LLC, No.

  1:25-cv-20086; Claims Holding Group, LLC (Bailey) v. AT&T Mobility LLC, No.

  1:25-cv-20088; Claims Holding Group, LLC (Belcher) v. AT&T Mobility LLC, No.

  1:25-cv-20082; Claims Holding Group, LLC (Branch) v. AT&T Mobility LLC, No.

  1:25-cv-20098; Claims Holding Group, LLC (Joy) v. AT&T Mobility LLC, No. 1:25-

  cv-20102; Claims Holding Group, LLC (Lyons) v. AT&T Mobility LLC, No. 1:25-cv-

  20106; Claims Holding Group, LLC (Malloy) v. AT&T Mobility LLC, No. 1:25-cv-

  20114; Claims Holding Group, LLC (McAnn) v. AT&T Mobility LLC, No. 1:25-cv-

  20130; Claims Holding Group, LLC (Smith) v. AT&T Mobility LLC, No. 1:25-cv-

  20131; and Claims Holding Group, LLC (Wax) v. AT&T Mobility LLC, No. 1:25-cv-

  20129.

        5)     AT&T removed the Caruso, Young, Surowiec, Varela and Quick actions

  in July and tagged them for inclusion in the Texas MDL. The courts in Caruso,

  Young, Surowiec and Quick sua sponte stayed all proceedings—including decisions

  on virtually identical motions to remand filed by Plaintiff’s counsel—pending a

  decision on transfer to the JPML. See, e.g., Surowiec, Case No. 1:24-cv-22619, ECF

  13 (S.D. Fla. July 26, 2024) (Chief Judge Altonaga) (“Defendant argues that keeping

  the case closed until the JPML decides the transfer issue is in the interest of

  judicial economy and consistency [and] Plaintiff may renew her motion to remand

  after such decision. . . Defendant’s position is well taken.”). On October 4, 2024, the

  JPML transferred the Caruso, Young, Surowiec, Varela and Quick actions to the

  Texas MDL over Plaintiff’s counsel’s objection because they “involve common




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  questions of fact with the actions transferred to MDL No. 3114, and [ ] transfer

  under 28 U.S.C. § 1407 will serve the convenience of the parties and witnesses and

  promote the just and efficient conduct of the litigation.” See In re AT&T Inc.

  Customer Data Sec. Breach Litig., MDL No. 3114, ECF No. 256.

        6)     Between September 19 and October 2, 2024, AT&T also timely

  removed the Simon, Simply180, Braverman, Van Teeffelen, and Bornstein actions

  and tagged each for inclusion in the Texas MDL. The JPML conditionally

  transferred each of these actions to the Texas MDL on October 10, 2024, on the

  grounds that they “encompass claims relating to the alleged data security breach

  announced by AT&T . . . [and] involve questions of fact that are common to the

  actions previously transferred to MDL No. 3114.” See In re AT&T Inc. Customer

  Data Sec. Breach Litig., MDL No. 3114, ECF No. 259. Meanwhile, the district courts

  in these cases stayed all proceedings pending a transfer decision by the JPML. See,

  e.g., Bornstein, Case No. 9:24-cv-81225, ECF 16 (denying motion to remand without

  prejudice and staying and administratively closing case pending a JPML transfer

  decision). Plaintiff filed a motion with the JPML to vacate transfer of these cases

  and briefing was closed on December 2, 2024. See In re AT&T Inc. Customer Data

  Sec. Breach Litig., MDL No. 3114, ECF 289. The JPML scheduled a hearing,

  without oral argument, for January 30, 2025, to address Plaintiff’s counsel’s motion

  to vacate transfer in each of these cases. AT&T expects these actions to be

  transferred to the MDL over Plaintiff’s counsel’s objection shortly after the

  hearing—exactly what occurred in Caruso, Young, Surowiec, Quick, and Varela.




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         7)    On October 21, 2024, AT&T removed the Spring and Claims Holding

  (Heising) actions. The JPML conditionally transferred plaintiffs’ claims regarding

  the data incident to the Texas MDL on November 26, 2024, on the grounds that

  they “involve[] questions of fact that are common to the actions previously

  transferred to MDL No. 3114.” Id., ECF 285. Plaintiff’s counsel filed a motion to

  vacate transfer of these cases on December 17, 2024, and AT&T filed its response on

  January 7. Id., ECF 312, 323. Meanwhile, the district courts presiding over these

  cases stayed all proceedings—including decisions on motions to remand— pending a

  decision on transfer by the JPML. See, e.g., Spring, No. 1:24-cv-2406, ECF 17

  (staying proceedings pending a Panel decision because it “increase[s] efficiency and

  consistency, particularly when the transferor court believes that a transfer order is

  likely and when the pending motions raise issues likely to be raised in other cases

  as well”).

         8)    In December 2024, AT&T removed the Stormont and FFNM actions

  and tagged them for inclusion in the Texas MDL. AT&T expects the JPML to

  conditionally transfer plaintiffs’ claims regarding the data incident to the Texas

  MDL shortly.

         9)    Between January 7 and January 9, 2025, AT&T also removed 11 near

  identical actions filed by Plaintiff Claims Holding—Anthony, Appleman, Bailey,

  Belcher, Branch, Joy, Lyons, Malloy, McAnn, Smith, Wax—to the Southern District

  of Florida and tagged them for inclusion in the Texas MDL. Plaintiff’s counsel

  immediately filed nearly identical remand motions in each action. In less than a




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  week after removal, the courts in six of these actions sua sponte stayed all

  proceedings and administratively closed the cases pending a decision by the JPML

  on transfer to the MDL—four also denied Plaintiff’s counsel’s nearly identical

  motions for remand. See, e.g., Claims Holding Group (Anthony), No. 1:25-cv-20076,

  ECF 5 (Jan. 9, 2025) (denying Plaintiff’s counsel’s remand motion because the

  “JPML may transfer the case to the Northern District of Texas to be consolidated in

  a pending Multidistrict Litigation” and, if not transferred, “Plaintiff may renew the

  Motion”); Claims Holding Group (Belcher), No. 1:25-cv-20082, ECF 4 (Jan. 8, 2025)

  (“The Court finds that Plaintiff will not be prejudiced by a brief stay of proceedings

  pending transfer, especially since Plaintiff may renew its Motion to Remand after

  the JPML has reached its decision.”). AT&T expects the JPML to conditionally

  transfer plaintiffs’ claims regarding the data incident to the Texas MDL shortly.

        10)    The remaining actions are cases that were initially filed by Plaintiff’s

  counsel against AT&T in Florida state court—some as far back as 2019—for claims

  regarding an unrelated administrative fee issue. Plaintiff’s counsel has sought leave

  to amend each of these cases to add claims related to the data incident that is the

  subject of the Texas MDL.

        11)    Plaintiff’s claims are virtually indistinguishable from those already

  filed across the country against AT&T Inc. and AT&T Mobility LLC—including

  several brought by Florida citizens and in Florida federal courts—and consolidated

  for coordinated proceedings in the Northern District of Texas.




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        12)    Indeed, there are numerous previously-filed federal cases transferred

  to the Texas MDL where Plaintiff is already a putative class member. For example,

  Plaintiff is a putative class member in cases seeking to represent “nationwide”

  classes of those allegedly impacted by the incident. See e.g., Garner v. AT&T Inc.,

  Case No. 3:24-cv-00962 (N.D. Tex.), ECF 1 at ¶¶ 21, 52, 53, 133, 155 (negligence

  and FDUTPA claims brought by a Florida citizen on behalf of a nationwide putative

  class and a Florida subclass of individuals whose information was compromised as a

  result of the data incident); Castro v. AT&T Inc., Case No. 24-cv-1992 (N.D. Tex.),

  ECF 1 at ¶¶ 13, 317 (negligence and FDUTPA claims brought by Florida citizen on

  behalf of a nationwide and Florida class of all individuals “whose PII was accessed

  or otherwise compromised as a result of the” data incident).

        13)    Because Plaintiff’s claims are already subsumed within putative class

  actions currently pending in the MDL, Plaintiff’s case is removable pursuant to the

  Class Action Fairness Act. Moreover, because Plaintiff and AT&T Mobility LLC are

  completely diverse and the amount in controversy exceeds $75,000, removal is

  proper pursuant to 28 U.S.C. 1332(a).

                              JURISDICTION UNDER CAFA

        14)    Pursuant to the Class Action Fairness Act (“CAFA”), where a proposed

  class involves 100 or more members, “[t]he district courts shall have original

  jurisdiction of any civil action in which the matter in controversy exceeds the sum

  or value of $5,000,000, exclusive of interest and costs, and is a class action in which




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  . . . any member of a class of plaintiffs is a citizen of a State different from any

  defendant.” 28 U.S.C. § 1332(d)(2)(A) and (d)(5).

        15)    CAFA is designed to create “efficiencies in the judicial system by

  allowing overlapping and ‘copycat’ cases to be consolidated in a single federal court”

  and to place “the determination of more interstate class action lawsuits in the

  proper forum—the federal courts.” Freeman v. Blue Ridge Paper Prods., Inc., 551

  F.3d 405, 408 (6th Cir. 2008) (quoting S. Rep. No. 109-14, at 5 (2005)). Indeed,

  CAFA was intended to “mak[e] it harder for plaintiffs’ counsel to ‘game the system’

  by trying to defeat diversity jurisdiction.” Id.

        16)    “CAFA’s ‘provisions should be read broadly, with a strong preference

  that interstate class actions should be heard in a federal court if properly removed

  by any defendant.’” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81,

  89 (2014). And where, as here, a plaintiff’s claims are already subsumed within an

  existing MDL, courts have looked past artificial limitations in plaintiff’s pleadings

  in finding federal jurisdiction.

        17)    For example, in In re Kitec Plumbing Systems Products Liability

  Litigation, 2010 WL 11618052 (N.D. Tex. Aug. 23, 2010), while an MDL involving

  allegedly defective HVAC pipe was proceeding in Texas, residents of two small

  communities in Washington filed actions in state court asserting the same claims.

  The Washington cases were removed and subsequently transferred to the MDL,

  where the removed plaintiffs sought to remand on the basis that CAFA’s amount-in-

  controversy threshold was not met. Indeed, the removed plaintiffs had pled under




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  the $5 million threshold by carving themselves out of a putative Washington class

  already pending before the MDL. But the Kitec court denied the motions to remand

  holding instead that it could “pierce the pleadings in order to determine the

  propriety of federal jurisdiction[,]” and look to the overlapping claims in the MDL

  class that were “already properly before this Court” in finding federal jurisdiction.

  Id. at *6.

         18)   The Kitec court further reasoned that allowing the removed plaintiffs

  to proceed in state court would erode the judicial efficiencies created by the MDL

  and undermine CAFA’s aim of eliminating both gamesmanship and copycat actions.

  The court found that the MDL “implicates [the] multistate or national interests”

  that CAFA was designed to protect and that the removed actions threatened to

  “create duplicative, overlapping or even identical litigation to [the MDL] if they

  were to be remanded.” Id. at *7.

         19)   Similarly, in Simon v. Marriott Int’l, Inc., 2019 WL 4573415 (D. Md.

  Sept. 20, 2019), plaintiffs brought claims arising out of a data breach incident in

  Connecticut state court despite an ongoing MDL proceeding addressing dozens of

  cases brought by plaintiffs nationwide regarding the same incident. To avoid

  diversity jurisdiction, the Simon plaintiffs pled that they intended to represent only

  a class of stateless individuals domiciled abroad. Id. at *1−2. But the Court found

  that there was “[no] legitimate basis for the need to litigate their claims separately

  from the MDL because of their geographic location” and to do so would mean




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  plaintiffs “could recover from both their state court action and from the MDL.” Id. at

  *4.

        20)    The Simon court further explained that “[t]he policy justifications for

  finding federal jurisdiction under CAFA even when it is absent on the face of the

  plaintiff’s complaint, such as preventing inefficiency and ‘ensuring federal court

  consideration of interstate cases of national importance,’ hold even more true in the

  MDL context.” Id. Indeed, “[t]he primary objective of an MDL is to promote the just

  and efficient conduct of actions that involve common questions of fact. This interest

  in fairness and efficiency is even stronger in the context of MDLs than in a stand-

  alone CAFA class action because MDLs combine multiple class (and individual)

  actions into one lawsuit for purposes of pretrial proceedings.” Id. Thus, “[a]llowing

  the Simons to manipulate CAFA would be harmful here because it could disrupt the

  orderly progress of the pretrial process in the Marriott MDL.” Id.

        21)    A similar result was reached in Sanders v. Kia America, Inc., 2023 WL

  3974966 (C.D. Cal. June 13, 2023). There, California residents filed a tort action on

  behalf of individual plaintiffs in California state court against a California car

  company regarding issues with anti-theft technology. The Sanders plaintiffs’ claims

  were the same as those raised in a pending MDL proceeding created to centralize all

  litigation for suits by consumers who purchased or leased vehicles that lacked the

  anti-theft technology. Plaintiffs alleged there was not minimal diversity for removal

  purposes because both plaintiffs and the car companies were California residents.




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         22)    Citing Simon, the court disagreed, and “reach[ed] beyond the

  pleadings” to determine that minimal diversity existed because the Sanders

  plaintiffs were subsumed by a class in the MDL that contained non-California

  citizens. Id. at *5.

         23)    The Sanders court explained that, “[while] Plaintiffs are entitled to

  choose a state forum for their action by limiting the number of plaintiffs or the

  amount of recovery they seek[,] where there is actually no difference between th[e]

  action and the existing claims that are being pursued in a multidistrict litigation . .

  . this is exactly the type of case that CAFA envisioned as removable.” Id. at *6.

         24)    This case is like Kitec, Simon, and Sanders. The incident allegedly

  impacted individuals nationwide and has resulted in over 100 suits raising the

  same types of claims, seeking the same types of relief, and seeking to represent

  classes that necessarily include Plaintiff’s suit. Thus, the Court has jurisdiction

  under CAFA.

         A.     There are more than 100 putative class members.

         25)    CAFA provides that the district courts shall not have jurisdiction over

  actions “where the number of members of all proposed plaintiff classes in the

  aggregate is less than 100.” 28 U.S.C. § 1332(d)(5).

         26)    Here, Plaintiff’s claims are subsumed by cases already pending before

  the MDL involving identical claims for relief on behalf of more than 100 putative

  class members See e.g., Garner, ECF 1 at ¶ 54 (alleging the class consists of more




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  than 73 million individuals); Castro, ECF 1 at ¶ 76 (alleging the class consists of

  more than 100 individuals).

        B.     Minimal diversity exists.

        27)     Under CAFA, diversity of citizenship exists where “any member of a

  class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C.

  § 1332(d)(2)(A).

        28)    Plaintiff is a citizen of the state of Florida.

        29)    AT&T Mobility LLC is a Delaware limited liability company.

        30)    “[A] limited liability company is deemed to be a citizen of any state of

  which any of its members is a citizen.” Blue Ridge Healthcare Mgmt., LLC v.

  Western World Ins. Co., 2020 WL 13356807, at *2 (S.D. Fla. Dec. 15, 2020).

        31)    AT&T Mobility LLC is a limited liability company composed of four

  members: BellSouth Mobile Data, Inc., New Cingular Wireless Services, Inc., SBC

  Long Distance, LLC, and AT&T Investment & Tower Holdings, LLC.

        32)    BellSouth Mobile Data, Inc. is a Georgia corporation with its principal

  place of business in Georgia. Thus, BellSouth Mobile Data is a citizen of Georgia.

        33)    New Cingular Wireless Services, Inc. is a Delaware corporation with

  its principal place of business in Georgia. Thus, New Cingular Wireless Services is a

  citizen of Delaware and Georgia.

        34)    SBC Long Distance, LLC is a limited liability company with one

  member—SBC Telecom, Inc., which is a Delaware corporation with its principal




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  place of business in Texas. Thus, SBC Long Distance, LLC is a citizen of Delaware

  and Texas.

        35)    AT&T Investment & Tower Holdings, LLC is a limited liability

  company with four members—AT&T Capital Services, Inc., JVI General

  Partnership, SBC Portfolio Holdings, Ltd., and SBC Telecom, Inc.

        36)    AT&T Capital Services, Inc. is a Delaware corporation with its

  principal place of business in Illinois. Thus, AT&T Capital Services is a citizen of

  Delaware and Illinois.

        37)    JVI General Partnership has two partners—AT&T Wireline Holdings,

  LLC and AT&T Solutions Inc. For purposes of determining diversity jurisdiction,

  “partnerships are citizens of every state in which one of their members or partners

  are citizens.” Kohlmeier v. American Honda Motors Co., Inc., 2022 WL 4104035, at

  *1 (M.D. Fla. Sept. 8, 2022). AT&T Wireline Holdings, LLC has one member—

  AT&T DW Holdings, Inc., a New York corporation with its principal place of

  business in Texas. Thus, AT&T Wireline Holdings is a citizen of New York and

  Texas. AT&T Solutions Inc. is a Delaware corporation with its principal place of

  business in Texas. Thus, AT&T Solutions is a citizen of Delaware and Texas.

  Therefore, JVI General Partnership is a citizen of New York, Texas, and Delaware.

        38)    SBC Portfolio Holdings, Ltd. is a Delaware corporation with its

  principal place of business in Texas. Thus, SBC Portfolio is a citizen of Delaware

  and Texas.




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         39)   SBC Telecom, Inc. is a Delaware corporation with its principal place of

  business in Texas. Thus, SBC Telecom is a citizen of Delaware and Texas.

         40)   Based on the foregoing, AT&T Mobility LLC is a citizen of the states of

  Georgia, Delaware, Texas, New York, and Illinois.

         41)   Thus, there is complete diversity between Plaintiff and AT&T Mobility

  LLC.

         C.    Amount-in-controversy is satisfied.

         42)    Pursuant to CAFA, the complaint must put in controversy more than

  $5,000,000, exclusive of interest and costs. See 28 U.S.C. § 1332(d)(2). The claims of

  individual class members are aggregated for purposes of CAFA’s amount-in-

  controversy requirement. See 28 U.S.C. § 1332(d)(6).

         43)   The amount-in-controversy requirement is satisfied for the same

  reason CAFA diversity and numerosity exist in this case. Because Plaintiff’s suit is

  subsumed within numerous putative classes already in the MDL, the Court may

  look to these actions to evaluate the amount placed in controversy. See, e.g.,

  Sanders, 2023 WL 3974966, at *6 (aggregating claims of members in MDL class and

  case brought by individuals to reach CAFA amount-in-controversy); see also Garner,

  ECF 1 at ¶ 9 (MDL case subsuming Plaintiff in its class definition and alleging the

  amount in controversy is over $5 million); Castro, ECF 1 at ¶ 76 (same).

         44)   Because Plaintiff’s case is subsumed by numerous cases already

  pending in the MDL, the CAFA requirements for numerosity, diversity, and amount

  in controversy are easily met. Thus, removal is proper.




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                  GROUNDS FOR REMOVAL UNDER 28 U.S.C. § 1332(a)

        45)    Pursuant to 28 U.S.C. 1332(a), the Court also has jurisdiction over this

  case because (1) there is complete diversity of citizenship between Plaintiff and

  AT&T Mobility LLC; and (2) the amount in controversy exceeds $75,000, exclusive

  of interests and costs.

        A.     Complete diversity exists.

        46)    AT&T Mobility LLC is a citizen of the states of Georgia, Delaware,

  Texas, New York, and Illinois, and Plaintiff is a citizen of the state of Florida.

        47)    Thus, there is complete diversity between Plaintiff and AT&T Mobility

  LLC pursuant to 28 U.S.C. 1332(a)(1).

        B.     The amount in controversy is satisfied.

        48)    The amount in controversy is also satisfied here. Indeed, Plaintiff

  seeks at least $8,000 in damages, attorney’s fees and costs, injunctive and

  declaratory relief, and “any other relief the Court deems just and proper.”

        49)    An action may be removed if the defendant establishes, consistent with

  the pleading requirements of Civil Rule 8, that the aggregate amount in

  controversy, exclusive of interest and costs, exceeds $75,000. See 28 U.S.C.

  § 1332(a); Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 84

  (2014). When a defendant seeks to remove an action to federal court on grounds of

  diversity jurisdiction, “the defendant’s amount-in-controversy allegation should be

  accepted [as true] when not contested by the plaintiff or questioned by the court.”

  Dart Cherokee Basin Operating Co., LLC, 574 U.S. at 87. This standard is




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  appropriate even when the complaint fails to allege, or seeks, a specific amount of

  damages. See NextPlat Corp. v. Seifert, 2023 WL 4972827, at *3−4 (S.D. Fla. June

  14, 2023) (citing Dart Cherokee and explaining that a “removing defendant satisfies

  [the amount-in-controversy] requirement by claiming a sufficient sum in good faith”

  despite plaintiff’s complaint not pleading more than $75,000 at issue).

        50)    Plaintiff seeks an actual damages award of $8,000. Thus, AT&T

  Mobility LLC need only demonstrate that Plaintiff’s additional claims for relief are

  worth $67,000.01. ($75,000.01 − $8,000 = $67,000.01)

        51)    Attorney’s Fees. In addition to $8,000 in damages, Plaintiff also

  requests its costs and attorneys’ fees incurred litigating this case.

        52)    “When a statute authorizes, and a plaintiff requests, attorney’s fees, a

  reasonable amount of those fees should be included in the amount-in-controversy.”

  Bele v. 21st Century Centennial Ins. Co., 2015 WL 3875491, at *3 (M.D. Fla. May 15,

  2015). Here, Plaintiff has brought a Florida Unfair and Deceptive Practices Act

  claim, which expressly provides for the recovery of attorney’s fees. See Fla. Stat. §

  501.2105.

        53)    To determine whether the amount-in-controversy is met, the Court

  may consider the amount of attorney fees awarded in similar cases through trial.

  See Bele, 2015 WL 3875491, at *3 (relying on its “judicial experience and common

  sense” to find that the amount-in-controversy was met where an attorney fee award

  in comparable cases would exceed the jurisdictional minimum); Gonzalez v.

  Honeywell Int’l, Inc., 2017 WL 164358, at *3 (M.D. Fla. Jan. 17, 2017) (same; “The




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  Court need not pinpoint the exact dollar figure of [attorney’s fees] to recognize that

  their value adds thousands of dollars to the amount in controversy.”).

        54)    Attorney fee awards in comparable FDUTPA cases would be sufficient

  to bring the amount-in-controversy here to well over $67,000. See, e.g., Wahl

  Hungaria KFT v. 4G Elecs. Grp. Inc., 2024 WL 896263, at *1 (S.D. Fla. March 1,

  2024) (awarding $79k in attorney’s fees); Unisource Discovery, Inc. v. Unisource

  Discovery, LLC, 2023 WL 4188118, at *1 (S.D. Fla. June 26, 2023) (awarding over

  $300k in attorney’s fees).

        55)    Plaintiff’s attorney bills at a rate of $650/hour. See Pineda v. Dale C.

  Glassford, P.A., Case No. 1:21-cv-20764, ECF 52 (S.D. Fla. August 13, 2021)

  (declaration of Maury Udell in support of motion for attorney fees stating that his

  hourly rate is $650/hour). Thus, Plaintiff’s attorney would have to bill only 104

  hours to exceed the jurisdictional amount. This is significantly less than Plaintiff’s

  counsel has previously sought in attorney’s fees in prior FDUTPA cases brought

  against AT&T in small claims court. See Greenberg v. AT&T Mobility LLC, Case

  No. 2016-002810-SP-05 (Miami-Dade County Small Claims Division) (in a case

  seeking only $5k in damages, awarding $174k in attorney’s fees based on 280 hours

  billed by Mr. Udell in a FDUTPA action against AT&T, as well as $15k in expert

  fees). And Mr. Udell has already served extensive, time-consuming discovery

  regarding the data incident—discovery as broad as AT&T is likely to see in the

  Texas MDL. For example, Mr. Udell has broadly sought all internal and external

  communications regarding any data incident for the past six years; all incident




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  reports regarding any data incident over the past six years; all documents

  describing data security measures and policies for the past six years; all risk

  assessments, security audits and vulnerability assessments conducted; and all

  contract and agreements with vendors handling storage of data allegedly impacted

  by the incident. (Ex. B, Docket.) Mr. Udell has also already served a notice to take

  AT&T’s deposition to obtain testimony regarding any data incident that has

  occurred since 2019 and any data security policies and procedures in place at the

  time of the incident, any corrective actions taken in response to the data incident,

  and any risk assessments, security audits or vulnerability assessments conducted

  prior to any data incident for the past six years. (Ex. B, Docket.)

        56)     Injunctive Relief. Finally, Plaintiff’s request for declaratory and

  injunctive relief may also be considered for purposes of calculating the amount in

  controversy. See Hunt v. Nationstar Mortgage, LLC, 782 Fed. Appx. 762, 768 (11th

  Cir. 2019).

        57)     Therefore, there is complete diversity between Plaintiff and AT&T

  Mobility LLC, and the amount in controversy exceeds $75,000. Thus, this Court has

  original jurisdiction and removal is proper pursuant to 28 U.S.C. § 1332(a).

                                     VENUE IS PROPER

        58)     This Court is in the judicial district and division embracing the place

  where Plaintiff filed the State Court Action and where it is pending. Specifically,

  the United States District Court for the Southern District of Florida embraces

  Miami-Dade County, Florida. See 28 U.S.C. §§ 1441, 1446.




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                                 TIMELINESS OF REMOVAL

         59)    Plaintiff’s Complaint was filed and served on January 17, 2025. AT&T

  Mobility LLC filed this Notice less than thirty days later and removal is, therefore,

  timely. See 28 U.S.C. § 1446(b); Murphy Bros. Inc. v. Michetti Pipe Stringing, Inc.,

  526 U.S. 344, 348 (1999).

                                           NOTICE

         As required by 28 U.S.C. § 1446(d), AT&T Mobility LLC is providing written

  notice of the filing of this Notice of Removal to Plaintiff and is filing a copy of this

  Notice of Removal with the Clerk of the County Court for Miami-Dade County,

  Florida.

  Dated:        January 27, 2025                Respectfully submitted,




                                                By:   Yameel L. Mercado Robles
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                                                      Counsel for Defendant




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                            CERTIFICATE OF SERVICE

        I hereby certify that on January 27, 2025, a true and correct copy of the

  foregoing document was served via email and U.S. mail upon the following:

  Maury L. Udell
  Beighley, Myrick & Udell, P.A.
  2601 S. Bayshore Drive, Suite 770
  Miami, FL 33133

  Counsel for Plaintiff




                                                      /s/Yameel L. Mercado Robles
                                                      Counsel for AT&T Mobility LLC




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